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17
                                UNITED STATES DISTRICT COURT
18
                               CENTRAL DISTRICT OF CALIFORNIA
19
20   MIGUEL GUTIERREZ,                          Case No.: 2:19-cv-07077-FMO-AFM
21                                              NOTICE OF FILING FLSA CONSENT
                  Plaintiff,                    FORM
22
           vs.
                                                [29 U.S.C. § 216]
23
24   NEW HOPE HARVESTING, LLC.;
     GUADALUPE GASPAR; EUGENIA
25   GASPAR MARTINEZ; ARACELI
     GASPAR GASPAR MARTINEZ; and JDB
26   PRO, INC., d/b/a CENTRAL WEST
     PRODUCE, Inclusive
27
                  Defendants.
28

                                                 1
                               NOTICE OF FILING FLSA CONSENT FORM
 Case 2:19-cv-07077-FMO-AFM Document 88 Filed 11/16/20 Page 2 of 4 Page ID #:1912



 1         Please take notice that Plaintiff, through counsel of record, hereby files the FLSA
 2   Consent Form attached hereto as Exhibit A pursuant to 29 U.S.C. §216.
 3
 4   Date: November 16, 2020               ADVOCATES FOR WORKER RIGHTS LLP

 5                                   /s/ Marco A. Palau
 6                                   _______________________________________
                                           Attorney for Plaintiff
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                             NOTICE OF FILING FLSA CONSENT FORM
Case 2:19-cv-07077-FMO-AFM Document 88 Filed 11/16/20 Page 3 of 4 Page ID #:1913




                                CONSENT TO SUE


         I HEREBY CONSENT to be a party Plaintiff in this lawsuit as to my
   claims for wages with respect to labor I performed for New Hope Harvesting,
   LLC (Guadalupe Gaspar) in the State of California between November 1, 2017
   and the present.


   This 09             day of November of 2020.



   Signature: [Miguel Angel Gutierrez Olmos]




   Name (printed): Miguel Gutierrez

   Address: Calle Ignacio Allende #404

   Neighborhood or Colony (if applicable): Colonia Vicente Gurrero

   Municipality or City: Maclovio Rojas

   State: Baja California

   Zip Code: N/A

   Telephone (house or neighbor): +52-616-117-0436

   Employer ID Number (if known): [REDACTED]




                                                                          Exhibit A
                                                                           Page 1
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                                                                     Exhibit A
                                                                      Page 2
